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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                    )
               Plaintiff,                    )
                                             )
               v.                            )       1:19-cr-00362-SEB-TAB
                                             )
MARCUS DILLARD,                              )
               Defendant.                    )

              EMERGENCY MOTION FOR RELEASE FROM DETENTION
                   BASED UPON THE COVID-19 PANDEMIC

       Defendant Marcus Dillard, by counsel, Sam Ansell, respectfully moves the Court

to enter an Order releasing Mr. Dillard to home incarceration until resolution of his case

and designation to a Bureau of Prisons facility, or until 10 days after the rescission of the

Public Health Emergency1.

       A new strain of coronavirus, COVID-19, has been declared by the World Health

Organization as a pandemic and on March 13, 2020, President Trump declared that the

COVID-19 outbreak constituted a national emergency. This virus is extremely contagious

and presents an extreme risk to incarcerated populations. Mr. Dillard is at a high risk of

severe illness or death because he has chronic respiratory and cardiovascular conditions.

Mr. Dillard is not charged with a violent offense and had never been convicted of a violent

offense. If released to home incarceration, Mr. Dillard would live with his wife and their

three children at the home they shared before his arrest.

       Mr. Dillard contemporaneously files a memorandum in support of this motion.



1
 Proclamation on Declaring a National Emergency Concerning the Novel Cornavirus Disease (COVID-19)
Outbreak, President Donald J. Trump, at https://www.whitehouse.gov/presidential-
actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-
outbreak/

                                                 1
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        WHEREFORE, the defense requests that the Court enter an Order releasing Mr.

Dillard to home incarceration with any additional conditions the Court deems necessary.

        For the health of all involved, defense counsel requests that any hearing on this

emergency motion be conducted by telephone or video conference. At such hearing, the

defense would waive Mr. Dillard’s physical presence so long as he is electronically

present and able to participate by telephone or video conference. In the event a hearing

is scheduled, defense requests that it be expedited.



                                            Respectfully submitted,


                                            H. Samuel Ansell
                                            H. Samuel Ansell
                                            Indiana Federal Community Defenders, Inc.
                                            111 Monument Circle, Suite 3200
                                            Indianapolis, IN 46204
                                            317-383-3520




                               CERTIFICATE OF SERVICE

      I certify that on March 29, 2020, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the parties by operation of the Court=s electronic filing
system. Parties may access this filing through the Court=s system.



                                            H. Samuel Ansell
                                            H. Samuel Ansell




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